          Case 1:24-mc-00353-LJL                Document 146                 Filed 11/22/24         Page 1 of 1




                                                                                                                 787 Seventh Avenue
                                                                                                                 New York, NY 10019-6099
                                                                                                                 Tel: 212 728 8000
                                                                                                                 Fax: 212 728 8111




November 22, 2024

VIA ECF

Hon. Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10007

Re:    Freeman et al. v. Giuliani, No. 24-mc-353 (LJL)

Dear Judge Liman:

         Plaintiffs respectfully submit this letter in response to the Court’s Order of November 22, 2024
(ECF No. 145). Since filing their motions to compel, Plaintiffs have received untimely responses to the
information subpoenas served on Standard USA, LLC, Ryan Medrano, and Ted Goodman, and a revised
response from Maria Ryan, all served on Plaintiffs via email from Defendant’s counsel. Plaintiffs
accordingly request that the Court deny their motion to compel Standard USA, LLC (ECF No. 137), and
their motion to compel Maria Ryan, Ted Goodman, and Mr. Medrano (ECF No. 113), as moot and
without prejudice to renewal or refiling. Plaintiffs are reviewing these responses and will seek further
relief from the Court as may be necessary.
                                                         Respectfully submitted,
                                                                 s/ Aaron E. Nathan




               B RUSSELS   C HICAGO   D ALLAS   F RANKFURT       H OUSTON    L ONDON    L OS A NGELES   M ILAN
                   M UNICH   N EW Y ORK   P ALO A LTO   P ARIS    R OME     S AN F RANCISCO   W ASHINGTON
